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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION,                         MDL NO. 2804
 OPIATE LITIGATION
                                                       Case No. 17-MD-2804
 THIS DOCUMENT RELATES TO:
                                                       Judge Dan Aaron Polster

Salmons v. Purdue Pharma L.P., et al.
MDL Case #1:18-OP-45268;

Flanagan v. Purdue Pharma L.P., et al.
MDL Case #1:18-OP-45405

Doyle v. Purdue Pharma L.P., et al.
MDL Case No. #1:18-op-46327

Artz v. Purdue Pharma, L.P., et al.
MDL Case No. #1:19-op-45459



         I, Marc Edward Dann, hereby state and declare as follows:

1.       I am an attorney of law, duly licensed and admitted to practice law before the United States

         District Court for the Northern District of Ohio. I am over the age of 18.

2.       I am a partner in the law firm of Dann Law, which serves as co-counsel for Plaintiffs

         Jacqueline Ramirez, Roman Ramirez, Melissa Barnwell, Jennifer Artz, Michelle Frost and

         Stephanie Howell (“Plaintiffs”) in the matter of In Re: National Prescription, Opiate

         Litigation, No. 17-md-2804 (the “Action”).

3.       I have personal knowledge of the following facts, and I am competent to testify to the

         following facts upon my own personal knowledge. I make this declaration in support of

         Plaintiffs’ Motion for Class Certification.




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4.       Plaintiffs’ counsel are experienced attorneys who have handled many complex civil

         litigation matters including other class actions and would be adequate to serve as lead and

         liaison counsel.

5.       I and the other nine attorneys at Dann Law (“Dann Law”) have significant experience

         litigating consumer class actions on behalf of Ohio citizens with extensive experience

         litigating in the Northern District of Ohio. I previously served as Ohio Attorney General

         and the State’s chief consumer protection enforcer. Further I served on the National

         Association of Attorneys General Committee overseeing the continued implementation of

         the National Tobacco Settlement. Under my Direction the State of Ohio prosecuted and

         settled claims for off label marketing of opioid pharmaceuticals against Perdue

         Pharmaceuticals. See Dann Law Firm Bio, attached hereto as Exhibit 1.

6.       Thomas Bilek has substantial experience litigating with over 33 years of experience. Bilek

         has taken a position as one of the top plaintiffs’ trial lawyers in Texas and is sought by

         other law firms to serve as co- or lead counsel in cutting-edge securities fraud, consumer

         protection, environmental, and occupational injury cases throughout the United States. See

         Bilek Firm Resume attached hereto as Exhibit 2.

7.       Celeste Brustowicz is a partner with Cooper Law Firm in New Orleans, Louisiana who has

         extensive experience in litigating complex and class cases. See Cooper Law Firm Resume

         attached hereto as Exhibit 3.

8.       Scott R. Bickford, a principal in Martzell, Bickford and Centola, APC, in New Orleans,

         Louisiana is an associate professor at Tulane Law School where he serves as co-director or

         the Law School’s Trial Advocacy program. Bickford also has extensive experience in




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         complex litigation including several multi-district litigations as well as handling multiple

         class action cases. Bickford’s resume is attached hereto as Exhibit 4.

9.       The putative lead and liaison Counsel, Dann, Bilek, Brustowicz and Bickford have

         associated with a network of lawyers who represent guardians of NAS Babies throughout

         the United States and have sufficient resources to properly prosecute claims alleged in the

         third amended complaint on behalf of the Class. Evidence of the adequacy of resources is

         demonstrated by over thousands of hours of work already performed in researching claims

         alleged in the complaint and have retained the highly qualified and respected experts whose

         affidavits are offered in support of the Motion for Class Certification.

10.      Attached hereto as Exhibit 5 is the Curriculum Vitae and Declaration of Dr. Kanwaljeet

         S. Anand in support of Plaintiffs’ Motion for Class Certification.

11.      Attached hereto as Exhibit 6 is the Curriculum Vita, Report, and List of Depositions of

         Dr. Charles L. Werntz III D.O. in support of Plaintiffs’ Motion for Class Certification.

12.      Attached hereto as Exhibit 7 is the Curriculum Vitae and Declaration of Dr. Charles

         Vyvayan Howard in support of Plaintiffs’ Motion for Class Certification.

13.      Attached as Exhibit 8 is “Increase in Prescription Opioid Use during Pregnancy among

         Medicaid-enrolled Women,” Obstetrics and Gynecology, 123(5), 997-1002 (2014) R.J.

         Desai

14.      Attached hereto as Exhibit 9 is the NCHS Data Brief No. 329 “Drug Overdose Deaths in

         the United States 1999-2017” by Holly Hedegaard M.D., Arianldi M. Minino M.P.H. and

         Margaret Warner Ph.D., published November 2018.

15.      Attached hereto as Exhibit 10 is “Duties of a Guardian of the Person”,

         https://www.courts.ca.gov/1211.htm (last visited Jan. 6, 2020).




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16.    Attached hereto as Exhibit 11 is “Opioid use disorder in the United States: Diagnosed

       prevalence by payer, age, sex, and state”, Stoddard Davenport and Katie Matthews (2018).

17.    Attached hereto as Exhibit 12 is “Cuyahoga County Announces How It’ll Use $23 Million

       in Opioid Settlement Money on Treatment and Prevention Services,” Vince Grzegorek,

       October 11, 2019, clevescene.com.

18.    Attached hereto as Exhibit 13 is “Ohio voters could decide constitutional amendment to

       split up opioid lawsuit cash,” Darrel Rowland and Randy Ludow, The Columbus Dispatch,

       December 5, 2019.



       I declare under penalty of perjury under the laws of the United States and the State of Ohio

that the foregoing is true and correct.

       EXECUTED in Cleveland, Ohio January 7, 2020


                                                            /s/ Marc E. Dann
                                                            Marc E. Dann




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